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       EXHIBIT 14
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    VIRGINIA: IN THE CIRCUIT COURT OF THE COUNTY OF ALBEMARLE

    COMMONWEALTH OF VIRGINIA

    v.                                                           CR17-784, CR17-845

    CHRISTOPHER CHARLES CANTWELL

                  Defendant
                                                                                  a
                                                                                  LtJ
                                                                                      l
          COMMONWEALTH'S MOTION TO REVOKE OR MODIFY BQ.N.J>
                                                      j                            ~:l




           COMES NOW the Commonwealth of Virginia, through her counsel, and

    respectfully moves this Honorable Court to revoke or modify bond.· In support of this

    Motion, the Commonwealth states as follows:


           1)     On August 11, 2017, Defendant was present at the torch lit "Unite the

                  Right" rally at the University of Virginia in Albemarle County.

           2)     Also present at the rally was a group qf approximately 50 counter-
                                                        ;~-/?'
                                                        •;:·-.
                  protestors. Prior to the arrival.of the members of"Unite the Right," the

                  counter-protestors encircled the Jefferson statute at the RotuncG-at the

                  University of Virginia.

           3)    · During the subsequent interaction between protestors and counter-

                  protestors, Defendant sprayed and emptied a can of pepper spray, mace, or

                  other noxious gas or chemical at the counter-protestors.

           4)     On August 31, 2018, the Albemarle General District Court released the

                  Defendant on a $25,000 secured bond. This decision was appealed by the

                  Commonwealth and this Court held the Defendant without bond pending

                  trial.



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          5)   On December 4, 2017, the Defendant was indicted by an Albemarle

               County grand jury for two counts of malicious use of tear gas, phosgene

               and other gases in violation of Virginia Code§ 18.2-312. Following

               service of this indictment, this Court modified the Defendant's terms        \

               of bond, requiring GPS monitoring, confiscation of firearms, a prohibition

               on out ·of state travel, residence in a non-hotel setting, and no contact with

               Emily Gorcenski and Kristopher Goad. The Court further modified the

               terms of bond to permit the Defendantto travel to and from northern

               Virginia and to move more freely in the city ofresidence.

         8)    On several occasions, the Commonwealth instructed the Defendant

               through counsel to refrain from direct or indirect contact with the

               primary victims in this case, Emily Gorcenski and Kristopher Goad.

         9)    Some of these warnings pertained to thll'Defendant's decision to re-post

               on social media inflammatory and offensive messages from others

               regarding a victim in this case.

         10)   After earlier warnings, counsel for the Defendant directed the Defendant

               to remove these posts and to not engage in further direct or indirect

               discussion of the victims of this case.

         11)   Notwithstanding multiple requests from the Commonwealth, the

               Defendant continued to engage in online communication intended to

               harass and potentially intimidate victims in this matter.



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          12)   Based on Defendant's conduct, the Commonwealth filed a motion to

                amend or modify Defendant's bond.

          13)   Iri its bond motion, the Commonwealth stated that "The right of victims in
                                                                  '   '




                pending cases to prepare for trial free of harassment or intimidation is

                essential to the administration of justice."

          13)   On April 26, 2018, this Court held a hearing on the Commonwealth's

                motion and amended and clarified bond conditions.

          15)    Amended bond conditions directed, inter alia, that the Defendant have

                "No contact direct or indirect with the victims, including but not limited to

                using names or identifying them by specific characteristics which identify

                them on social media or radio broadcast."

         16)    Following this hearing, the Defendan~£9ntinued to engage in online and
                                                        s-;:•,,


                on-air communications inconsistent with amended bond conditions

                entered by this Court. Specifically, the Defendant referred to one of the

                victims in this matter by name on a radio broadcast and repeatedly

                referred to one victim by identifying characteristics on social media

                on multiple occasions.

         17)    The Commonwealth now requests this Court to revoke or further

                modify Defendant's bond to prevent future harassment and to ensure

                against additional violations of the Defendant's conditions of bond.




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